




02-12-424-CV









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


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&nbsp;

NO. 02-12-00424-CV 

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  Randy Cairns
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  Allied Aerospace, Ltd.
  
  
  &nbsp;
  
  
  APPELLEE 
  
 


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FROM THE 342nd
District Court OF Tarrant COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;

We
have considered “Appellant's Motion To Dismiss Appeal.”&nbsp; It is the court’s
opinion that the motion should be granted; therefore, we dismiss the appeal.&nbsp; See
Tex. R. App. P. 42.1(a)(1), 43.2(f).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Costs
of the appeal shall be paid by appellant, for which let execution
issue.&nbsp; See Tex. R. App. P. 42.1(d).

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

PANEL:&nbsp;
GARDNER,
WALKER, and MCCOY, JJ.&nbsp;


&nbsp;

DELIVERED:&nbsp;
December 6, 2012 








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[1]See Tex. R. App. P. 47.4.







